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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
In re:

HERB PHILLIPSON'S ARMY AND NAVY STORES, INC.                  Case No. 18-61376
                                                              Chapter 11
                                    Debtor.
------------------------------------------------------X

                                   APPOINTMENT OF
                      OFFICIAL COMMITTEE OF UNSECURED CREDITORS

        William K. Harrington, the United States Trustee for Region 2, under 11 U.S.C. §§ 1102(a) and
(b), hereby appoints the following unsecured creditors who are willing to serve on the Official
Committee of Unsecured Creditors of Herb Phillipson's Army and Navy Stores Inc.:



    1. Jerry’s Sports Center
       PO Box 128
       Chapin, SC 29036
       Attention: Jay Montgomery
       Phone: (800) 345-9367 - x 2202

    2. Columbia Sportswear Brands USA, LLC
       14375 NW Science Park Drive
       Portland, OR 97229
       Attention: Kim Keierleber
       Phone: (503) 985-4542

    3. Townsquare Media
       9418 River Road
       Marcy, NY 13403
       Attention: Karen Carey
       Phone: (315) 768-9500

    4. Carhartt, Inc.
       5750 Mercury Drive
       Dearborn, MI 48126
       Attention: Katie Clow
       Phone: (313) 749-6723
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   5. VF Outdoor, LLC
      N 850 County Hwy CB
      Appleton, WI 54914
      Attention: Darin Newton
      Phone: (920) 735-6849


Dated: Utica, New York
       October 19, 2018
                                              Respectfully Submitted,

                                              WILLIAM K. HARRINGTON
                                              UNITED STATES TRUSTEE FOR REGION 2

                                        By:          /s/ Guy A. Van Baalen
                                              Guy A. Van Baalen
                                              Assistant United States Trustee
                                              10 Broad Street
                                              Utica, New York 13501
                                              Tel. No.: (315) 793-8191
                                              Fax No.: (315) 793-8133
